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                                             October 16, 2018
     Judge Robert D. Drain
     United States Bankruptcy Court
     Southern District of New York


       Re:          Kristen M. Farley
       Case Number: 16-23672
       Subject:     Status Report of Loss Mitigation between Debtors and Creditor

Dear Judge Drain:

         Our office represents U.S. Bank Trust National Association as Trustee of Bungalow Series III
Trust by its servicer SN Servicing Corporation in the pending loss mitigation proceedings. Please accept
this letter as an update on the current loss mitigation proceedings.

       On October 4, 2018, a conference call was conducted between Creditor and Debtor’s Attorney in
which proposed modification terms were discussed. A post-petition reinstatement letter was provided to
Debtor Attorney’s office on October 5, 2018 for Debtor’s Attorney to review. Creditor is currently
awaiting a response on whether borrower is agreeable to the terms.

     Please do not hesitate to contact our office with any questions.

     Sincerely,

     STERN & EISENBERG, P.C.

     /s/ Stacey Weissblatt
     Stacey Weissblatt, Esq.
